JS 44 (Rev.   Case 2:23-cv-02889-NRM-ARLCIVIL
                                          Document
                                              COVER1-4 SHEET
                                                       Filed 04/18/23 Page 1 of 2 PageID #: 49
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
       Alan Eisenman and Isaac Begun                                                                   Lawrence Katz, The Law Office of Lawrence Katz, P.C.
                                                                                                       The Law Office of Lawrence Katz, Esq., PLLC
   (b) County of Residence of First Listed Plaintiff              Nassau County                         County of Residence of First Listed Defendant Kings County
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                       Attorneys (If Known)
       Law Offices of Elliot J. Blumenthal, PLLC                                 Levi Huebner & Associates, PC
                                                                                 488 Empire Boulevard, Suite 100
       483 Chestnut Street                                                       Brooklyn, NY 11225              Phone: (212) 354-5555
       Cedarhurst, NY 11516                         Phone: (516) 295-0903
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                                   and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                   PTF           DEF                                                     PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                     Citizen of This State            1             1                  Incorporated or Principal Place         4     4
                                                                                                                                                                   of Business In This State

  2    U.S. Government                 4   Diversity                                           Citizen of Another State            2                  2          Incorporated and Principal Place                        5        5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                                         of Business In Another State

                                                                                               Citizen or Subject of a             3                  3          Foreign Nation                                          6        6
                x                                                                                Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                               TORTS                           FORFEITURE/PENALTY                             BANKRUPTCY                                                OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158                                            375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                                                   376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability       690 Other                                28 USC 157                                                       3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                                                                                   400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                                                  410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                820 Copyrights                                                  430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                              830 Patent                                                      450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated                                        460 Deportation
       Student Loans                 340 Marine                           Injury Product                                                    New Drug Application                                        470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                   Liability                                                     840 Trademark                                                       Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets                                        480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                                                     (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending             Act                                                                                               485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal           720 Labor/Management                  SOCIAL SECURITY                                                     Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                                                 490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)                                             850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                                               Exchange
                                         Medical Malpractice                                          Leave Act                        864 SSID Title XVI                                               890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                                                 891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                                               893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                                                895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff                                            Act
  240 Torts to Land                  443 Housing/                        Sentence                                                           or Defendant)                                               896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                       871 IRS—Third Party                                              899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                                                     Act/Review or Appeal of
                                         Employment                  Other:                       462 Naturalization Application                                                                            Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                                                 950 Constitutionality of
                                         Other                       550 Civil Rights                 Actions                                                                                               State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from              4 Reinstated or             5 Transferred from       6 Multidistrict                                               8 Multidistrict
    Proceeding             State Court                            Appellate Court              Reopened                    Another District           Litigation -                                                Litigation -
                                                                                                                           (specify)                  Transfer                                                    Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                    28 U.S.C. §§ 1331, 1367, 1441, 1442 and 1446 and 15 U.S.C § 78aa.
VI. CAUSE OF ACTION Brief description of cause:
                                       Fraud relating to a raise of capital
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                              CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                              $1,400,000.                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                               DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
                                                                      Levi Huebner
                                                                                                                                        Digitally signed by Levi Huebner

4-18-23                                                                                                                                 DN: cn=Levi Huebner, o, ou, email=newyorklawyer@msn.com, c=US
                                                                                                                                        Date: 2023.04.18 21:46:10 -04'00'




FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                                                        MAG. JUDGE
                            CERTIFICATION
           Case 2:23-cv-02889-NRM-ARL     OF ARBITRATION
                                      Document              ELIGIBILITY
                                               1-4 Filed 04/18/23 Page 2 of 2 PageID #: 50
Local Arbitration Rule 83. provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.



I, __________________________________________, counsel for____________________________, do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):

                        monetary damages sought are in excess of $150,000, exclusive of interest and costs,

                        the complaint seeks injunctive relief,

                        the matter is otherwise ineligible for the following reason


                                  DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1
                                   Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:




                                   RELATED CASE STATEMENT (Section VIII on the Front of this Form)
Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a) provides that “A civil case is “related”
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to the same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be
deemed “related” to another civil case merely because the civil case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that
“Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still
pending before the court.”




1.)         Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
            County?                     Yes              No

2.)         If you answered “no” above:
            a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
            County?                 Yes               No

            b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
            District?               Yes               No

            c) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
            received:______________________________.

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
Suffolk County?___________________________________
          (Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

                                                                                        BAR ADMISSION

            I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

                                                             Yes                                                          No

            Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

                                                             Yes       (If yes, please explain                            No




            I certify the accuracy of all information provided above.
                       Levi Huebner
            Signature: ____________________________________________________
